            Case 1:18-vv-01958-UNJ Document 57 Filed 10/06/21 Page 1 of 5




               In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                        Filed: September 13, 2021


* * * * * * * * * * * * *
DIANA CASTANEDA, as Mother and           *
Natural Guardian of minor child, S.E.C., *                               UNPUBLISHED
                                         *
              Petitioner,                *                               No. 18-1958V
                                         *
v.                                       *                               Special Master Gowen
                                         *
SECRETARY OF HEALTH                      *                               Decision on Damages; Table Injury;
AND HUMAN SERVICES,                      *                               Influenza Vaccine; Guillain-Barré
                                         *                               Syndrome (“GBS”).
              Respondent.                *
                                         *
* * * * * * * * * * * * *

Leah V. Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for petitioner.
Mallori B. Openchowski, United States Department of Justice, Washington, DC, for respondent.

                                        DECISION ON DAMAGES 1

       On December 21, 2018, Diana Castaneda (“petitioner”) as a mother and natural guardian
of minor child, S.E.C., filed a petition for compensation under the National Vaccine Injury
Compensation Program. 2 The claim concerns petitioner’s minor child S.E.C.’s receipt of an
influenza (“flu”) vaccination on December 21, 2014, followed by his alleged development of
Guillain-Barré syndrome (“GBS”) on or shortly before February 1, 2015. Petition (ECF No. 1)
at Preamble.



1
  Pursuant to the E-Government Act of 2002, see 44 U.S.C. § 3501 note (2012), because this opinion contains a
reasoned explanation for the action in this case, I am required to post it on the website of the United States Court of
Federal Claims. The court’s website is at http://www.uscfc.uscourts.gov/aggregator/sources/7. This means the
opinion will be available to anyone with access to the Internet. Before the decision is posted on the court’s
website, each party has 14 days to file a motion requesting redaction “of any information furnished by that party:
(1) that is a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that
includes medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b). “An objecting party must provide the court with a proposed redacted version of the
decision.” Id. If neither party files a motion for redaction within 14 days, the opinion will be posted on the
court’s website without any changes. Id.
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-1 to 34 (2012)
(“Vaccine Act” or “the Act”). All citations in this decision to individual sections of the Vaccine Act are to 42
U.S.C.A. § 300aa.
           Case 1:18-vv-01958-UNJ Document 57 Filed 10/06/21 Page 2 of 5




         On August 5, 2019, respondent filed a motion to dismiss which relied on his concurrent
report in accordance with Vaccine Rule 4(c), in which respondent provided that petitioner’s
claim should be dismissed because it was not timely filed. Respondent’s (“Resp.”) Report
(“Rept.” ) at 7. Respondent acknowledged that the Act contains a lookback provision for the
filing of petitioner pursuant to revisions to the table. Id. at 8-9 (citing 42 U.S.C. § 300aa-16(b)).
Respondent revised the Table to create a presumption of compensation for any petition filed on
or after March 21, 2017, for the receipt of a flu vaccine followed within 3-42 days by the onset
of GBS meeting certain qualifications and aids to interpretation (“QAI”). Id. at 7-8, citing 42
C.F.R. § 100.3(a); § 100.3(c)(15); see also 82 Fed. Reg. 620401, 2017 WL 202456 (Jan. 19,
2017). Respondent argued that S.E.C.’s diagnosis was “unclear,” and did not have “decreased or
absent deep tendon reflexes in weak limbs,” which are required for Table flu/GBS injury. Id. at
7-8, citing 42 C.F.R. § 100.3(c)(15)(ii)(A).

        On August 22, 2019, the Chief Special Master deferred ruling on respondent’s motion to
dismiss and ordered petitioner to file medical expert’s reports addressing the issues that had been
identified. ECF No. 17.

        On June 1, 2021, the undersigned issued a ruling that petitioner is entitled to
compensation. Ruling on Entitlement (ECF No. 46.). On September 10, 2021, respondent filed a
Proffer on an award of compensation, which indicates petitioner’s agreement to compensation on
the terms set forth therein. Proffer (ECF No. 52). I have received the Proffer and do award
damages in accord with it. The Proffer is incorporated herein and made part of hereof as
Appendix A. Based on the record as a whole, I find that petitioner is entitled to an award as
stated in the proffer.

     Consistent with the terms of the Proffer, the undersigned awards the following in
compensation:

    (A) A lump sum payment of $163,869.53 ($160,000.00 representing compensation for
       pain and suffering and $3,869.53 representing compensation for unreimbursed out-
       of-pocket medical expenses) in the form of a check payable to petitioner as
       guardian/conservatory of S.E.C., for the benefit of S.E.C. petitioner.

        This amount accounts for all elements of compensation under 42 U.S.C. §300aa-15(a).

       The Clerk of the Court is directed to ENTER JUDGMENT in accordance with this
decision. 3

        IT IS SO ORDERED.

                                                                       s/Thomas L. Gowen
                                                                       Thomas L. Gowen
                                                                       Special Master


3
 Entry of judgment is expedited by each party’s filing notice renouncing the right to seek review. Vaccine Rule
11(a).

                                                         2
            Case 1:18-vv-01958-UNJ Document 57 Filed 10/06/21 Page 3 of 5




IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                     OFFICE OF SPECIAL MASTERS


DIANA CASTANEDA, as Mother and Natural
Guardian of minor child, S.E.C.,
                                                       No. 18-1958V
                  Petitioner,                          Special Master Gowen
                                                       ECF
 v.

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                  Respondent.

               RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.        Compensation for Vaccine Injury-Related Items

          On December 21, 2018, Diana Castaneda, as mother and natural guardian of her minor

child, S.E.C. (“petitioner”) filed a petition under the National Childhood Vaccine Injury Act of

1986, 42 U.S.C. §§ 300aa-1 to -34, as amended (“Vaccine Act” or “Act”), alleging that S.E.C.

suffered Guillain-Barré Syndrome (“GBS”) as a result of an influenza (“flu”) vaccination S.E.C.

received on December 21, 2014. See Petition at Introduction. On August 5, 2021, respondent

filed his Vaccine Rule 4(c) report and motion to dismiss, contesting that entitlement to

compensation was appropriate under the terms of the Vaccine Act for a Table injury for GBS

following flu vaccination. ECF Nos. 14, 15. Thereafter, on June 1, 2021, the Special Master

issued a Ruling on Entitlement, finding that S.E.C. was entitled to vaccine compensation. ECF

No. 46.

          Based on the evidence of record, respondent proffers that S.E.C. should be awarded

$163,869.53, which is comprised of damages for pain and suffering in the amount of

$160,000.00, and damages for unreimbursed out-of-pocket medical expenses in the amount of
         Case 1:18-vv-01958-UNJ Document 57 Filed 10/06/21 Page 4 of 5




$3,869.53. 1 This amount represents all elements of compensation to which petitioner would be

entitled under 42 U.S.C. § 300aa-15(a). 2 Petitioner agrees.


II.    Form of the Award

       The parties recommend that compensation provided to S.E.C. should be made through a

lump sum payment of $163,869.53, in the form of a check payable to petitioner as

guardian/conservator of S.E.C., for the benefit of S.E.C. No payment shall be made until

petitioner provides respondent with documentation establishing that she has been appointed

guardian/conservator of S.E.C.

III.   Guardianship

       No payments shall be made until petitioner provides respondent with documentation

establishing that she has been appointed as the guardian/conservator of S.E.C. If petitioner is not

authorized by a court of competent jurisdiction to serve as guardian/conservator of S.E.C., any

such payment shall be made to the party or parties appointed by a court of competent jurisdiction

to serve as guardian/ conservator of S.E.C. upon submission of written documentation of such

appointment to the Secretary.

                                             Respectfully submitted,

                                             BRIAN M. BOYNTON
                                             Acting Assistant Attorney General

                                             C. SALVATORE D’ALESSIO
                                             Acting Director
                                             Torts Branch, Civil Division


1
  The parties have no objection to the amount of the proffered award of damages. However,
respondent reserves his right, pursuant to 42 U.S.C. § 300aa-12(e), to seek review of the Special
Master’s June 1, 2021 entitlement decision.
2
  Should S.E.C. die prior to entry of judgment, the parties reserve the right to move the Court for
appropriate relief.

                                                 2
        Case 1:18-vv-01958-UNJ Document 57 Filed 10/06/21 Page 5 of 5




                                   HEATHER L. PEARLMAN
                                   Deputy Director
                                   Torts Branch, Civil Division

                                   LARA A. ENGLUND
                                   Assistant Director
                                   Torts Branch, Civil Division

                                   s/ Mallori B. Openchowski
                                   MALLORI B. OPENCHOWSKI
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DATED: September 10, 2021




                                      3
